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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF OKLAHOMA

CLYDE ALLEN RIFE,
          Plaintiff,
vs.                                                Case No. 14-CV-372-RAW
SHELTER MUTUAL INSURANCE
COMPANY,
          Defendants.

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

          COMES NOW Plaintiff, Clyde Allen Rife, by and through Donald E. Smolen, attorney

of record, of the firm Smolen, Smolen, & Roytman, PLLC, joining with Defendant, Shelter

Mutual Insurance Company, by and through R. Ryan Deligans, attorney of record, of the firm

Durbin, Larimore & Bialick, and stipulate and agree that the above-captioned matter be

dismissed with prejudice for all allegations and against the filing of a future action thereon, for

the reason that the parties have entered into a compromise settlement. The parties therefore

submit that this matter is concluded, pursuant to Rule 41(a)(1)(A)(ii), and respectfully request

this Court to enter an administrative closing order as necessary.

s/Donald E. Smolen                                   s/ R. Ryan Deligans
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